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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           Case No. 2:18-CR-0061-JAM-2
12                               Plaintiff,
                                                         PRELIMINARY ORDER OF
13                  v.                                   FORFEITURE
14   ROLAND ADRIAN JUFIAR,
15                               Defendant.
16

17          In keeping with the plea agreement entered into between plaintiff United States of America and

18 defendant Roland Adrian Jufiar (Dkt. No. 43), it is hereby ORDERED, ADJUDGED, and DECREED as

19 follows:

20          1.       Under 21 U.S.C. § 853(a), defendant Roland Adrian Jufiar’s interest in the following

21 property shall be condemned and forfeited to the United States of America, to be disposed of according to

22 law:
                     a.     2012 GMC Yukon XL, VIN: 1GKS2MEF0CR228690, California License
23                          Plate Number: C590S0; and
24                   b.     One Men’s Gold Rolex Watch, Serial Number 8574228.
25          2.       The above-listed property was used or intended to be used to commit or to promote the

26 commission of violation of 21 U.S.C. §§ 841(a)(1) and 846, or constitutes substitute assets for property

27 which was used, or intended to be used, to commit or promote the commission of those offenses.

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                                                                                Preliminary Order of Forfeiture
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 1          3.      Under Rule 32.2(b) of the Federal Rules of Criminal Procedure, the Attorney General (or

 2 a designee) shall be authorized to seize the above-listed property. The aforementioned property shall be

 3 seized and held by the U.S. Marshals Service, in its secure custody and control.

 4          4.      a.      Under 21 U.S.C. § 853(n) and Local Rule 171, the United States shall publish

 5 notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 6 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 7 posted for at least 30 consecutive days on the official internet government forfeiture site

 8 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice to

 9 any person known to have alleged an interest in the property that is the subject of the order of forfeiture as

10 a substitute for published notice as to those persons so notified.

11                  b.      This notice shall state that any person, other than the defendant, asserting a legal

12 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

13 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

14 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

15          5.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

16 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will be

17 addressed.

18          SO ORDERED.

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20    Dated: August 23, 2019.
                                                            /s/ John A. Mendez____________
21                                                          Hon. John A. Mendez
                                                            United States District Court Judge
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                                                                                    Preliminary Order of Forfeiture
